      Case 2:06-cr-00071-MHT-SMD Document 464 Filed 01/10/22 Page 1 of 1



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )      CRIMINAL ACTION NO.
        v.                               )          2:06cr71-MHT
                                         )
BERNETTA LASHAY WILLIS                   )

                                    ORDER

       Based on the representations made on the record

today, it is ORDERED that, by January 21, 2022:

       (1) The government may file a response to defendant

Bernetta           Lashay    Willis’s           renewed            motion       for

compassionate release (Doc. 457).

       (2) Defendant Willis shall file a notice with the

court        as    to   whether    she       plans     to        present     expert

testimony in support of the motion, and as to whether

she     has       received   a    booster       shot        of     the     COVID-19

vaccine.

       DONE, this the 10th day of January, 2022.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
